oOo won DH WA HBP W HO Fr

N WM NHN WN NY WN NY KN KN FR Fe KS Se FF EF ES SE
oOo ~~) OH Uw SB UB UNDUE lUcOUlUCNOUlCUOULULUNNCUCO OU OU SP LULUhODY OOH

 

fase 2:17-cv-08704-DSF-JEM Document 92 Filed 06/21/19 Page1of5 Page ID #:2092

Robert F, Brennan, Esq. [S.B. #132449]

LAW OFFICES OF ROBERT F. BRENNAN, A P.C.
2103 Montrose Avenue, Suite D

Montrose, CA 91020

Tel.: (818) 249-5291

Fax: (818) 249-4329

Email: rbrennan@brennanlaw.com

Attorney for Plaintiff
HANNAH WEINSTEIN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

HANNAH WEINSTEIN, an individual; Case No. 2:17-cv-08704-DSF-JEM
Hon. Dale S. Fischer

Plaintiff, DECLARATION OF ROBERT F.
BRENNAN IN OPPOSITION TO

Vs. EXPERIAN’S EX PARTE MOTION
TO ISSUE A GAG ORDER ON THE
EQUIFAX INFORMATION SERIVCES| NICOLE MELIO DEPOSITION.
LLC, a business entity; EXPERIAN
INFORMATION SOLUTIONS, INC., No hearing date set.
a corporation; FIDELITY CAPITAL
HOLDINGS, INC., a business entity,
form unknown; and DOES 1-10,
Inclusive,

Defendants.

 

 

 

 

‘DECLARATION OF ROBERT F. BRENNAN IN OPPO TO EXPERIAN EX PARTE

 

 
BR WwW bh re

NO WwW BP Bw Kw BO KH BRO ORD Om
oOo ~a DH A BB WD NY YH DT OHO OBO HS HB AH fF W KY KS OS

0 OND WA

 

pase 2:17-cv-08704-DSF-JEM Document 92 Filed 06/21/19 Page 2of5 Page ID #:2093

I, ROBERT F. BRENNAN, declare:
1. Iam plaintiff’s counsel in this matter and if called upon to testify to the matters
set forth in this declaration, I could do so truthfully and competently from

personal knowledge.

The Court has Already Ruled that the So-Called Confidential Portions of the
Melio Deposition Are Not Confidential.

2. On April 25, 2019, the court issued Document #75, “Order DENYING
Application to Seal.” The court ruled, among other things, that Experian’s
application to seal was “meritless”. The court’s order contemplated that
Experian may suffer “bad publicity” because its application to seal was being
denied. (Document #75, p. 1.) The court’s order concerned the Experian
policy pages regarding handling of court documents and any related documents

in the court record.

Plaintiff’s Counsel Followed a Court-Mandated Procedure In Opposing

Experian’s Efforts to Seal Its Documents

3. Experian’s motion focuses on the procedures for challenging confidential
documents in the protective order. Experian’s motion neglects discussion of
the court’s standing order, p. 6, which specified a procedure for challenging the
sealing of confidentially-designated documents in opposition to a summary
judgment motion. (Document #16, p. 6:8-12) Plaintiffs counsel followed that
procedure and Experian did not.

4, The court issued an OSC re sanctions against plaintiff's counsel for filing
Experian’s so-called confidential documents without sealing them. Plaintiff
filed a response to the OSC on April 16, 2019, in which I detailed my

compliance with, and Experian’s neglect of, the court’s standing order

1

 

DECLARATION OF ROBERT F. BRENNAN IN OPPO TO EXPERIAN EX PARTE

 

 

 
Oo on DH NH F&F WD NY

NHN HN HH NN Be ee ew ee ee ee
ada AA ROP fF SF OCmMOAK DAA BON KS SO

(ase 2:17-cv-08704-DSF-JEM Document 92 Filed 06/21/19 Page 3of5 Page ID #:2094

regarding filing the sealed documents. (Document #68, #68-1 through #68-9)
On April 25, 2019, the court discharged the OSC without comment.

(Document #72)

5. The First Basis for Gagging the Melio Deposition is the Discussion in the
Melio Deposition of the Experian Policy Manual pages that address
handling of court documents. The court has already ruled that Experian’s
efforts to seal these documents and deposition excerpts is “meritless”.

Court Document #75.

6. The Second Basis for Gagging the Melio Deposition is a Fleeting Reference

to the Experian Admin Report and D/R Log. In the Melio Deposition,
there is only a passing reference to these documents and no contents of the
Admin Report or the D/R Log is revealed or discussed: Experian seeks to
have the entire Melio deposition gagged, in part, because of a very brief
reference to two documents marked as confidential by Experian: the Admin:
Report and the Dispute Log. The reference can be found on pp. 59 and 60 of
the Melio deposition. (Ex. 1) Here is the entire excerpt dealing with the Admin
Report and the D/R Log (Mr. Alcade was the local attorney in Chile

representing the witness at her deposition):

p. 59

22 Now, if you would, I'd like you to take a look

23 at what's called the DR log, which, in this case, is
24 Experian Page No. 94. I sent, to Juan, a series of
25 pages, pages 93 through 99.

1 MR. BRENNAN: Juan do you have Pages 93 to 99?
2 MR. ALCALDE: Yes.
3 MR. BRENNAN: Okay. I'11 mark that as Exhibit
4 No. 7. SO I'm remarking Exhibit No. 7.

2

 

DECLARATION OF ROBERT F, BRENNAN IN OPPO TO EXPERIAN EX PARTE

 

 

 

 
0 Oo NYA UW BW Ne

YO wo Be WH WK WH Pb bm Bb ea ea ea ea
Oo ~~ HD tm fF W HB YF DW OBO Ww as HD HAH BR Ww YH FF &

 

lo nonrxa rn wo

10

12
13
14
15
16
17
18
19
20
21
22

 

(Tase 2:17-cv-08704-DSF-JEM Document 92 Filed 06/21/19

Page 40f5 Page ID #:2095

MR. ALCALDE: Okay.

MR. BRENNAN: Okay.

(Plaintiff's Exhibit 7 was marked for
identification by the Court Reporter,

and a copy is attached hereto.)

BY MR. BRENNAN:

Q. Okay. Ms. Melio, if you would, take a look at
Page No. 94, which is called the "DR Log."

Do you recognize this DR log?

OP Oe

No.

Do you recognize the type of document it is?
The what?

Do you recognize the form of document or the

type of document?

A. I recognize the DR log.

Q. Okay. On this DR log, does it indicate that
Paragraph 169 was ever sent to Ms. Weinstein?
A. No.

[end of excerpt. Note: “paragraph 169” refers to a paragraph which Experian

sends to consumers when it deems a consumer’s dispute documents insufficient.

Experian has never claimed that paragraph 169 is confidential. ]

7. In the video of the deposition, Ms. Melio does not hold up the DR log to the

screen. She and Mr. Alcade look at, she answers the question and then she
puts it aside. That is all. The so-called confidential contents are never shown
to the camera. I will provide the court with a copy of the video upon request.
So, the sum total of the reference to the Admin Report and the D/R Log in the
Melio deposition is one question about whether the D/R Log reflects whether
paragraph 169 was sent to Ms. Weinstein. That is all. This is not confidential
information.

I should note that Experian’s Admin Reports and D/R Logs have already been
discussed extensively on the internet in other cases since as far back as 2005.
See http://www. myfaircredit.com/forum/viewforum.php?f=45. These

documents are, in essence, nothing more than Experian’s internal spreadsheets

3

 

DECLARATION OF ROBERT F. BRENNAN IN OPPO TO EXPERIAN EX PARTE

 

 
Oo oY A uw BW wwe

NM BO BO BS BO BO BRD BRD BRD OOOO RR Re ee eR
oO ~ DH A fb WH NY HY SF CO DH sD DH OH F&F W YH YF &

Q

 

ase 2:17-cv-08704-DSF-JEM Document 92 Filed 06/21/19 Page 5o0f5 Page ID #:2096

for each consumer’s credit report (Admin Report) and the record ofa
consumer’s disputes with Experian (D/R Log, or dispute log). While the issue
was not litigated in this case, it is doubtful that these documents meet the
necessary threshold of “confidential” documents.

10.Finally, there is no reference to the Admin Report or the D/R Log in the press

release which Experian has challenged.

Pending the Outcome of this Ex Parte Application, I have taken down the
video from YouTube, Facebook and my blog. The press release has stopped
running.

11.I strongly believe that I was well within my rights to publish the video
deposition on my Facebook and YouTube pages after the court denied
Experian’s application to seal. I did not publish any of the Melio deposition or
the Experian policy manual until after the court issued Document #75.
However, in an abundance of caution, I have taken down the video from my
blog, from my Facebook and from YouTube, pending resolution of this

application. I also deleted it from my LinkedIn page.

Executed this 21st day of June, 2019 at Montrose, California. I declare under
penalty of perjury under the laws of the United States and the State of California

that the foregoing is true and correct.

/s/ Robert F. Brennan

4

 

DECLARATION OF ROBERT F. BRENNAN IN OPPO TO EXPERIAN EX PARTE

 

 
